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HAYLEY E. LOWE


January 14, 2025


BY EMAIL1
The Honorable Valerie E. Caproni, United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
Courtroom 20C
New York, New York 10007


Re:       Oren Alexander _______________________________________________________________


Dear Judge Caproni:

I respectfully submit this letter in support of pretrial release for Oren Alexander, my friend of nearly
twenty years. I believe fervently that Oren’s release will not pose any danger to any person and he will
diligently abide by any conditions set by the Court.

By way of background, my name is Hayley Lowe. I am an attorney and have practiced in the area of
complex commercial litigation for approximately ten years. I was admitted in New York in 2014 and in
Texas in 2017. I graduated from Fordham University School of Law in 2013. I received my undergraduate
degree in 2009 from the University of Colorado, where I met Oren.

I met Oren during our freshman year in late 2005 or early 2006. Throughout college we were friends and
had an on-again, off-again romantic relationship. During this time, I got to know Oren and his character
well. After college, Oren and I both lived in New York City and would run into each other from time to
time. As such, I have known Oren for nearly twenty years.

In the course of my college relationship with Oren, I found him to be thoughtful, fun-loving, and patient.
In contrast to other young men his age, Oren was interested in my career ambitions and academic interests.
Many of our conversations focused on current events, international affairs, and our respective future
ambitions. I found Oren to be hard working, focused, family oriented, and civic-minded—qualities I
believe that he has carried through in the life he has built since college.

I never experienced any violence, sexual or otherwise—or anything close to it—in the course of my
relationship with Oren. Indeed, I never found Oren to be pushy or aggressive with respect to sex. I also
never witnessed Oren being violent to any other person. To the contrary, Oren was respectful, mature,
measured, and calm, including when we had arguments during our relationship.




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    This letter was submitted by email to counsel for Oren Alexander for submission to Judge Caproni.


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I am generally familiar with some of the allegations asserted against Oren. These allegations are wholly
inconsistent with the person I know Oren to be. Moreover, I do not believe that Oren is a dangerous
person generally or could pose any threat to any person’s safety while he awaits trial.

I also do not believe that Oren would ever consider attempting to evade his obligation to appear before
this Court at trial. Oren has the utmost reverence for his family and the life they built from nothing in
Miami. It is my strongly held opinion that he would never do anything to jeopardize that life or their
assets. Nor do I believe Oren would ever consider abandoning his life and his family in Miami to run
away from answering to the allegations asserted against him. Oren does not run from challenges, he does
not let down his family, and he abides by his word—he will do the same in abiding by the conditions for
pretrial release set by this Court.

I note in conclusion that I practice in this Court and hold my duties as an officer of the Court with
reverence. I do not take lightly making this submission or associating my name in any way with this very
public matter. I would not do so if I did not believe that it was morally incumbent upon me to attest to
my personal experience with Oren and my understanding of his values and character for the Court’s
consideration of this matter. I believe strongly that Oren’s release poses no threat or risk, and that he
should be allowed to be with his young family while he prepares for trial.



Respectfully submitted,



/s/ Hayley Lowe

Hayley E. Lowe




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